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AO 245B      (Rev. 09/13) Judgment in a Criminal Case
             Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                  Southern    District of         Indiana
                                                                     )
           UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                 v.                                  )
                                                                     )
                LUTHER LAWTON,                                       )      Case Number: 3:14CR00003-006
           A/K/A “LUT LUT,” A/K/A “LL”                               )
                                                                            USM Number: 12209-028
                                                                     )
                                                                     )      David William Lamont
                                                                            Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s) 1
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

   Title & Section            Nature of Offense                                                  Offense Ended             Count
21 U.S.C. § 841(a)(1)         Conspiracy to Distribute in Excess of 28 Grams of a Substance       11/27/2013                 1
                              Containing Cocaine Base (lesser included offense of Count 1)




       The defendant is sentenced as provided in pages 2 through            5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s) 10, 11, 13, and 20                           is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                  3/31/2016
                                                                  Date of Imposition of Judgment



          A CERTIFIED TRUE COPY                                     __________________________________
                                                                  Signature of Judge
          Laura A. Briggs, Clerk
          U.S. District Court                                       RICHARD L. YOUNG, CHIEF JUDGE
          Southern District of Indiana
                                                                    United States District Court
          By                                                        Southern District of Indiana
                                                                  The Honorable Richard L. Young, U.S. District Court Chief Judge
                                                                  Name and Title of Judge
                                Deputy Clerk
                                                                    4/07/2016
                                                                  Date
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AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of   5
 DEFENDANT:              LUTHER LAWTON, A/K/A “LUT LUT,” A/K/A “LL”
 CASE NUMBER:             3:14CR00003-006

                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     80 months

          The court makes the following recommendations to the Bureau of Prisons:
          Designation to a facility close to southwestern Indiana and evaluation for the 500-hour substance abuse treatment program.

          The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.        p.m.       on                                          .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/13) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page         3   of   5
 DEFENDANT:                LUTHER LAWTON, A/K/A “LUT LUT,” A/K/A “LL”
 CASE NUMBER:               3:14CR00003-006
                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : 4 years


 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter.
         The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913,
         et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
         she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
             The defendant must comply with the conditions listed below:

                                                CONDITIONS OF SUPERVISION
    1)             You shall report to the probation office in the district to which you are released within 72 hours of release from the
                   custody of the Bureau of Prisons.
    2)             You shall report to the probation officer in a manner and frequency directed by the court or probation officer.
    3)             You shall permit a probation officer to visit you at a reasonable time at home or elsewhere and shall permit confiscation
                   of any contraband observed in plain view of the probation officer.
    4)             You shall not knowingly leave the judicial district without the permission of the court or probation officer.
    5)             You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.
    6)             You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be
                   engaged, in criminal activity. You shall report any contact with persons you know to be convicted felons to your
                   probation officer within 72 hours of the contact.
    7)             ou shall reside at a location approved by the probation officer and shall notify the probation officer at least 72 hours
                   prior to any planned change in place or circumstances of residence or employment (including, but not limited to,
                   changes in residence occupants, job positions, job responsibilities). When prior notification is not possible, you shall
                   notify the probation officer within 72 hours of the change.
    8)             You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.
    9)             You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law enforcement
                   officer.
   10)             You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational
                   training, or other reasons that prevent lawful employment.
   11)             You shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
                   the permission of the court.
   12)             You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance with
                   the conditions of supervision.
   13)             You shall provide the probation officer access to any requested financial information and shall authorize the release
                   of that information to the U.S. Attorney’s Office for use in connection with the collection of any outstanding fines
                   and/or restitution.
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 AO 245B     (Rev. 09/13) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
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   DEFENDANT:              LUTHER LAWTON, A/K/A “LUT LUT,” A/K/A “LL”
   CASE NUMBER:             3:14CR00003-006



                                                CONDITIONS OF SUPERVISION

    14)            You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and
                   property, including any computer systems and hardware or software systems, electronic devices, telephones, and
                   Internet-enabled devices, including the data contained in any such items, whenever the probation officer has a
                   reasonable suspicion that a violation of a condition of supervision or other unlawful conduct may have occurred or be
                   underway involving you and that the area(s) to be searched contain evidence of such violation or conduct. Other law
                   enforcement may assist as necessary. You shall submit to the seizure of contraband found by the probation officer.
                   You shall warn other occupants these locations may be subject to searches.

    15)            You shall participate in a substance abuse or alcohol treatment program approved by the probation officer and abide
                   by the rules and regulations of that program. The probation officer shall supervise your participation in the program
                   (provider, location, modality, duration, intensity, etc.). You shall pay some or all of the costs of such treatment, if
                   financially able.

    16)            You shall not use or possess any controlled substances prohibited by applicable state or federal law unless authorized
                   to do so by a valid prescription from a licensed medical practitioner. You shall follow the prescription instructions
                   regarding frequency and dosage.

    17)            You shall submit to substance abuse testing to determine if you have used a prohibited substance or to determine
                   compliance with substance abuse treatment. Testing may include no more than eight drug tests per month. You shall
                   pay some or all of the costs of testing, if financially able. You shall not attempt to obstruct or tamper with the testing
                   methods.

    18)            You shall not use or possess alcohol.

    19)            You shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
                   synthetic marijuana, bath salts, Spice, glue, etc.) that impair a person’s physical or mental functioning, whether or not
                   intended for human consumption.

    20)            You shall not be a member of any gang or associate with individuals who are members.



I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to modify these
terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the Court for relief or clarification;
however, I must comply with the directions of my probation officer unless or until the Court directs otherwise. Upon a finding of a
violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                                   Defendant                                              Date


                                   U.S. Probation Officer/Designated Witness              Date
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 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       4       of     5
  DEFENDANT:              LUTHER LAWTON, A/K/A “LUT LUT,” A/K/A “LL”
  CASE NUMBER:             3:14CR00003-006

                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                     Fine                                   Restitution
  TOTALS             $ 100.00                                       $                                      $

       The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

           Name of Payee                         Total Loss*                     Restitution Ordered                 Priority or Percentage




  TOTALS                                $                                  $

        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the         fine           restitution.

             the interest requirement for the           fine       restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page        5       of   5
 DEFENDANT:             LUTHER LAWTON, A/K/A “LUT LUT,” A/K/A “LL”
 CASE NUMBER:            3:14CR00003-006
                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                   , or
                in accordance              C           D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                    C,           D, or           G below); or
 C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                     Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
